 Case 1:17-cv-00320-JMS-RLP
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Jason Bamhart
7452 Makaa Street
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Honolulu, HI 96740                                                              UNITED STATES DISTRICT COURT
Telephone:(808)478-6085                                                              DISTRICT OF MAWAII

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                              UNITED STATES DISTRICT COURT                           SUE BEITIA, CLERK

                                  FOR THE DISTRICT OF HAWAII



       ME2 Productions, Inc. et al.

                 Plaintiff                                  Civil Action No: 1:17-cv-00320-JMS-RLP
                      V

 Dragon Media,Inc. d/b/a Dragon Box et al.                  ANSWER TO FOURTH AMENDED
                                                            COMPLAINT.
                Defendant



                                 Response to Second Motion to Strike

Defendant Jason Barnhart, Pro Se is unable to afford an attorney for legal advice or representation. My
wife and 2 kids(10&12) live paycheck to paycheck. We have no other money that can be used we just
get by to provide for our family. No savings, no 401 k's, Etc. I was not able to borrower funds to pay for
legal services. I would like to state that I honestly and simply have no idea what is going on at this point.
I have not done anything, I have no money and are simply at a loss as to how the court expects
me to respond when I am clueless except to explain that I am wholly blameless. I have no
information that would in any way assist the court in the present context. I've been put into this
situation as a pond according to the plaintiffs' lawyer due to a social network and then added me to the
4^ amendment due to not being able to provide any cooperation.

Defendant Barnhart request motion to dismiss defendant Barnhart from the fourth amended complaint.



Date: June 26, 2018                                               Jason Bamhart


                                                                 Attorney Pro Se
